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                           UNITED STATES DISTRICT COURT
                                                                                          CLERK
                             DISTRICT OF SOUTH DAKOTA
                                   SOUTHERN DIVISION



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                                           *
SPV-LS,LLC,                                        CIV 14-4092
                                           *

                                           *
              Plaintiff,
      vs.
                                           *
                                                   MEMORANDUM OPINION
                                           *               AND ORDER
                                           *              REGARDING
TRANSAMERICA LIFE INSURANCE
COMPANY,                                   *           SANCTION CLAIMS
                                           *
                                                  AND DIRECTING DRAFTING
                                           *
              Defendant and                         OF FINAL JUDGMENT
                                            *
              Third-Party Plaintiff,
                                           *
      vs.
                                           *

                                            *
NACHMAN BERGMAN,as Trustee
                                            *
of The N Bergman Insurance Trust
                                            *
dated December 18,2006;
                                            *
MALKA SILBERMAN,as Successor
                                            *
Trustee of The N Bergman Insurance
                                            *
Trust dated December 18, 2006;
                                            *
LIFE TRADING TRUST,
                                            *
dated August 8,2007;
                                            *
T-LEG,LLC, a/k/a TLEG LLC;
FINANCIAL LIFE SERVICES,LLC;                * .
SPVIILLC;and                                *
THE REPRESENTATIVE OF THE                   *
ESTATE OF NANCY BERGMAN,                    *
                                            *


              Third-Party Defendants.       *
                                            *




       The background facts of this case are summarized in this Court's Memorandum Opinion
granting the Plaintiffs Motion for Summary Judgment, Doc. 225, filed April 14, 2016, and the
Court's Memorandum Opinion Granting Plaintiffs Motion for Summary Judgment,Doc.482,filed
April 5,2017. Still pending before the Court are various claims by SPV for sanctions against some
ofthe lawyers who have represented Third-Party Defendants in this litigation.

       SPV is asking for monetary damages for sanctions against Aaron Twersky,who was the last
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ofa series oflawyers who represented Silberman, who was the successor trustee ofThe N Bergman
Insurance Trust. Sanctions were also requested against attorneys representing the Estate of Nancy
Bergman,that being Brian Donahoe as the local South Dakota counsel, and attorney Gerald Kroll,
the Califomia lawyer who was the primary counsel for The Estate of Nancy Bergman.


                                    STANDARD OF REVIEW

       In the Eighth Circuit, district court impositions of sanctions are governed by the abuse of
discretion standard. Perkins v. General Motors Corp.,965 F.2d 597,602(8th Cir. 1992)(upholding
district court's imposition ofsanctions under Federal Rules ofCivil Procedure 11 and 26); Gallagher
V. Magner,619 F.3d 823,844(8th Cir. 2010)("We review an order denying discovery sanctions for
an abuse of discretion.")(citation omitted). "[T]he district courts [are given] a large amount of
discretion in regulating and sanctioning misconduct which occurs in proceedings before it." Good
Stewardship ofChristian Center v. Empire Bank, 341 F.3d 794,797(8th Cir. 2003)(citing Hunt v.
City ofMinneapolis, Minn,203 F.3d 524,527(8th Cir.2000)). See Bunting v. Sea Ray,Inc.,99 F.3d
887, 890(8th Cir. 1996)(holding that "[t]he conduct of discovery is committed to the trial court's
sound discretion." The trial court did not "condone" obstructionist tactics in refusing to grant
sanctions). Specific to when deciding whether to dismiss a case as a sanction for discovery abuses,
"the district court must balance its 'need to advance its burdened docket against the consequence of
irrevocably extinguishing [a]litigant's claim.'" Empire Bank, 341 F.3d at 797(citation omitted).
While a district court is advised to first consider lesser sanctions, Keefer v. Provident Life and Acc.
Ins. Co., 238 F.3d 937, 941 (8th Cir. 2000), "[t]he futility of lesser sanctions is a further
consideration in the district court's balancing calculation." Empire Bank, 341 F.3dat797 (citing
First Gen. Res. Co. v. Elton Leather Corp.,95^ F.2d 204,206(8th Cir. 1992)). Moreover,imposing
a sanction on a litigant "is proper only if just and expressly related to the particular claim."
MacCregorv. Mallinckrodt,Inc.,313 F.3d 923,935(8thCir.2004){ciLmgKeefer,238F.3dat941).


                                         • DISCUSSION

       Federal Rule of Civil Procedure 37"'provides generally for sanctions against parties or
persons unjustifiably resisting discovery.'" § 2281 History and Purpose of Rule, 8B Fed. Prae. &
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Proc. Civ. § 2281 (3d ed.)(quoting Advisory Committee Note to 1970 amendments ofRule 37,78
F.R.D. at 538). In the Eighth Circuit, "[IJmposition of discovery sanctions requires 'an order
compelling discovery, a willful violation of that order, and prejudice to the other party.'
Mallinckrodt, 373 F.3d at 934 (quoting Chrysler Corp. v. Carey, 186 F.3d 1016, 1019 (8th Cir.
1999)). See GuifuLi v. A Perfect Day Franchise, Inc., 281 F.R.D. 373,390(N.D. Cal. 2012)("As
a condition precedent to imposing sanctions pursuant to Federal Rule of Civil Proeedure 37 the
Defendants must have violated a Court Order."); Fed. Prac & Proc,, supra at § 2282("The general
scheme of[][R]ule [37]is that ordinarily sanctions can be applied only for a failure to comply with
an order ofthe court.) Defendants had to be forced by motion to comply but ultimately, after much
effort by SPV and the Court,the Estate did ultimately substantially eomply in the proeeedings before
this Court. Nachman Bergman, as an individual and Trustee did only partially comply and the
sanction of dismissal of his claims was and is again granted. Compliance by Malka Silberman
individually and as Trustee will be discussed only in regard to the period of representation by
Attorney Twersky. See:


       Doc. 312, Order Granting in Part and Denying in Part Plaintiff and Third-Party
       Defend^ts' Motion to Compel, Docket No. 196, dated June 28, 2016

       Doc. 305, Order on Plaintiffs and Third-Party Defendants' Motion to Compel,
       Docket No. 237, dated June 28, 2016

       Doc. 342, Order on Motion to Compel Brian Donahoe to Comply with Subpoena,
       Docket No. 252, dated August 11, 2016

       Doc. 327, Order on Plaintiffs and Third-Party Defendants' Motions to Compel
       Attorneys Pamela Reiter and Ronald Parsons to Comply with Subpoenas,DocketNo.
       255, dated July 15, 2016


       Doc. 309, Order on Plaintiffs and Third-Party Defendants' Motion to Compel
        Attorney Alan Peterson to Comply with Subpoena, Doeket No. 258, dated June 29,
       2016


        Doc. 310, Order on Plaintiffs and Third-Party Defendants' Motion to Compel
        Attomey Matthew Dorothy to Comply with Subpoena, Docket No. 261, dated
        June 29, 2016
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       Doc. 311, Order on Plaintiff's and Third-Party Defendants' Motion to Compel and
       for Sanctions Against Third-Party Defendant Nachman Bergman, Docket No. 278,
       dated June 30, 2016

       Doc. 472, Memorandum Opinion and Order on Plaintiffs and Third-Party
       Defendants' Motion to Compel,filed March 6,2017


       SPV has failed the first prong ofthe Eighth Circuit's three-part test for Rule 37 sanctions-an
order compelling discovery,        Countryside Gas. Co. v. Orr,523 F.2d 870,872 n.3(8th Cir. 1975)
("The sanctions found in Fed. R. Civ. P. 37 are the only relief available for failure to make
discovery.")(citations omitted).


       Under Federal Rule of Civil Procedure 11, district court impositions of sanctions are
reviewed under the deferential"abuse ofdiscretion"standard. Cooter & Cell v.Hartmarx Corp.,496
U.S. 384,405,110 S.Ct. 2447,110 L.Ed. 2d 359(1990). "A district court would necessarily abuse
its discretion if it based its ruling on an erroneous view of the law or on a clearly erroneous
assessment ofthe evidence." Id. A Rule 11 sanction might
       be warranted when a pleading is "presented for any improper purpose, such as to
       harass or to cause unnecessary delay or needless increase in the cost of litigation,"
       Fed. R. Civ. P. 11(b)(1), contains allegations or factual contentions that lack
       evidentiary support. Fed. R. Civ. P. 11(b)(3), or contains denials of factual
       contentions that are not warranted on the evidence. Fed. R. Civ. P. 11(b)(4).

Clark V. United Parcel Service, Inc., 460 F.3d 1004,1008 (8th Cir. 2006). Furthermore,"R.ule 11
sanctions are imposed only in response to claims that are not 'warranted by existing law or by a
nonfrivolous argument for the extension, modification, or reversal ofexisting law." MHCInv. Co.
V. Racom Corp.,323 F.3d 620,623(8th Cir.2003)(quoting Fed. R. Civ.P. 11(b)(2)). Fatal to SPV's
claim that Rule 11 has application here, however,"Rule 11 expressly does not apply to disclosures
and discovery requests or responses subject to Rules 2[6] through 37." Ideal Instruments, Inc. v.
Rivard Instruments, Inc., 243 F.R.D. 322, 334 (N.D. lA. 2007) (citing Fed. R. Civ. P. 11(d)
(emphasis in original). See Perkins, 965 F.2d at 601-02 (upholding Rule 11 sanctions based on
motion practice unrelated to discovery). No basis has been shown for Rule 11 sanctions.
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       Unlike sanctions imposed under Rule 11, which are imposed at a court's discretion, Federal
Rule of Civil Procedure 26 "requires sanctions if a violation ofthe rule is found." Books are Fun,
Ltd. V. Rosebrough,239 F.R.D. 532,550(S.D.lA.2007)(citations omitted). "Rule 26(g)sanctions
are designed 'to deter abuse and compensate the opposing party for all expenses,whenever incurred,
that would not have been sustained had the opponent conducted itself properly.'"Id. (quoting
Johnson Int'l Co. v. Jackson Nat'I Life Ins. Co., 19 F.3d 431, 439 n. 10 (8th Cir. 1994)(internal
quotations and citation omitted)). Rule 26(g) sanctions are proper "'when the signing of [a
discovery request] is incomplete, evasive or objectively unreasonable under the circumstances.'"
Id. (quoting 6't. Paul Reinsurance Co. Ltd. v. Commercial Fin. Corp., 198 F.R.D. 508, 515 (N.D.
Iowa 2000))(alteration in original). See Oregon RSA No. 6, Inc. v. Castle Rock Cellular ofGreg.
Ltd. Partnership, 16 F.3d 1003, 1007 (9th Cir. 1996)(using "an objective standard to determine
whether a party or attorney has responded or objected to a discovery request for an improper
purpose."). "The most obvious situation where sanctions are appropriate occurs when a party or its
attorney submits a false discovery document." Rosebrough,239 F. R.D.at 551 (citing Perkins,965
F.2d at600 n.5). Submitting afalse discovery doeument-or fabricating evidence-"has been referred
to as'the most egregious misconduct' whichjustifies a finding offraud upon the Court." Interpreter
Services, Inc. v. BTB Technologies, Inc., No. CIV 10-4007, 2011 WL 6935343, at *8 (D.S.D.
Dee. 29, 2011)(quoting In re Coordinated Pretrial Proceedings in Antibiotic Antitrust Actions
(Antitrust Actions), 538 F.2d 180,195 (8th Cir. 1976), abrogation on other grounds recognized by
Briscoe v. County ofSt. Louis, Missouri,690 F.3d 1004,1011 n. 2(8th Cir. 2012)). For a court to
find such a fraud has been committed, it "must be supported by clear, unequivocal and convincing
evidence." Antitrust Actions, 538 F.2dat 195(citing Barr Rubber Products Co. v. Sun Rubber Co.,
425 F.2d 1114, 1120 (2nd Cir. 1970), cert, denied 400 U.S. 878, 91 S.Ct. 118, 27 L.Ed.2d 115
(1970).


       With regard to the claims against Aaron Twersky, some more history is necessary. Malka
Silberman as Successor Trustee ofThe N Bergman Insurance Trust, was represented atthe inception
of this litigation in 2014 by Andrew Citron. Attorney Citron never made an appearance in the
litigation but secured the representation for Silberman by the South Dakota law firm of Johnson,
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Heidepriem,& Abdallah. The Johnson,Heidepriem firm,through their attorneys,Pamela Bollweg
and Ronald Parsons of Sioux Falls appeared for Malka Silberman on September 25, 2014, and
withdrew from that representation on October 20, 2015. Silberman was next represented by
Attorney Matthew Dorothy beginning on November 19, 2015, and that representation lasted until
April 8,2016. Next,after Attorney Dorothy,Silberman was represented by attorney Aaron Twersky
who made his appearance in the litigation on April 8,2016, and that representation continued until
he and local counsel, James Moore of Woods,Fuller, Shultz & Smith moved on August 16, 2016,
to be allowed to withdraw. The Court allowed their withdrawal from the Silberman representation
on October 14, 2016. Silberman has been without legal representation in this litigation since that
time. Prior to Attomey Citron's involvement, another New York lawyer, Stuart Davis, attempted
to locate a South Dakota lawyer for Silberman as Trustee.


       On June 6,2016 SPY filed a Motion to Strike Malka Silberman's Answer and Cross-Claim
and For Other Sanctions,Doc.289. Attomey Twersky had only been counsel ofrecord two months.
On November 29,2016,in Doc. 440, as a sanction,the Court allowed SPY to renew its Motion for
Summary Judgment with regard to Silberman. The time for filing dispositive motions had passed.
The Court also entered an additional conditional sanction against Silberman if email and text
production was not made. SPY was not satisfied with that sanction and moved for reconsideration,
which was denied. The Court went on to say:

        The various lawyers and law firms that have represented Malka Silberman, as
        Successor Tmstee of The N Bergman Insurance Trust, are not being sanctioned by
        the Court. It appears to the Court that the various attomeys ofrecord that at one time
        or another have represented Malka Silberman, as Successor Trustee of the N
        Bergman Insurance Trust, have been hampered in their attempts to represent Malka
        Silberman, as Successor Tmstee, with that hampering being by Malka Silberman or
        by others in concert with her other than her attomeys of record. The first set of
        attomeys of record for Malka Silberman, as Successor Tmstee of The N Bergman
        Insurance Tmst made an appearance on September 25, 2014, and were allowed to
        withdraw on October 20, 2015. The next lawyer of record appeared on
        November 19, 2015; and was allowed to withdraw on April 8, 2016. On April 8,
        2016,the third set of lawyers appeared and they moved to withdraw on August 19,
        2016, and were allowed to withdraw on October 14, 2016.

        The Court's Order of November 29, 2016, was after the withdrawal of Attomeys Twersky
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and Moore which was on October 14, 2016. The Court at that time ruled that those lawyers were
not being sanctioned by the Court. The Court has now reviewed all ofthese other claims that SPY
makes for sanctions against Attorney Twersky even though the Court had already ruled that it was
not awarding sanctions against Mr.Twersky. The Court is aware that it can sanction the lawyer even
after that lawyer is no longer representing a party in the proceedings. The Court has reviewed the
rest ofthe claims now made by SPY against Mr. Twersky and no sanctions are awarded. It appears
that Twersky was in over his head in this litigation. Not only did he lack resources anywhere nearly
comparable to SPY and its law firms, Attorney Twersky also got and apparently needed direction
from United States District Judge Forrest and the Magistrate Judge on what was described by Judge
Forrest as some basic privilege issues concerning the deposition of Attorney Citron. That resulted
in what Judge Forrest described as a sanction,butthe record in that miscellaneous proceedings,SP V-
LS, LLC,FinancialLife Services, LLC,SPYIILLC v. Andrew Citron, et a/., NY 16-00156,does not
reflect any sanction being entered by the Court beyond that statement. No sanction is warranted
against Attorney Aaron Twersky.


       Defendant Silberman was clearly a difficult client. There, were both delays and lack of
forthcoming regarding discovery that in faet was caused by the client and not her varying cast of
lawyers. It appears that she at least claimed to know few ofthe facts surrounding this litigation. It
also appears that her defense positions and strategy may have been directed by Jacob Herbst, her
husband, and possibly the other shadow investors.


       Attorney Brian Donahoe is the South Dakota counsel for the Estate of Nancy Bergman.
Attorney Donahoe was involved as local coimsel in the representation ofthe Estate beyond simply
being on the pleadings. The Court has reviewed all of the proceedings concerning the request for
sanctions against Attorney Donahoe and there is no basis for any sanctions and that request is denied.


       Sanctions are also requested against the primary attorney for the Estate ofNancy Bergman,
Gerald KroII, a California attorney. It should be mentioned that there are two pending requests for
sanctions by SPY against Attorney KroII and two collateral proceedings that were brought in
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California as a result ofthe ease before this Court,In re: Rule 45 Subpoena Issued to Gerald Kroll,
Case No.2:16-me-OOl 15-VAP-AGR,and In re:Rule 45SubpoenaIssued to Gerald Kroll, Case No.
2:16-me-OO131-VAP-AGR. No ruling has been made by the Court in California eoneeming those
sanetion requests.


       In the eourse of this heavily discovered litigation which includes 31 depositions and
thousands of pages of documents, there is no doubt that Attorney Kroll in some instances was not
in compliance with discovery production rules, but the Court on balance finds no willful abuse of
the judicial process by Attorney Kroll. Jaquette v. Black Hawk County, Iowa, 710 F.2d 455 (8th
Cir. 1983)citing Roadway Express, Inc. v. Piper,447 U.S. 752,766(1980). A possible exception
is the claim by Attorney Foss and SPV that Attorney Kroll forged a retainer agreement and provided
thatforgery in discovery. Attorney Kroll at all times has adamantly denied that allegation. Attorney
Foss claims that he had a document examiner verify that claim but no report of any document
examiner has been produced. If the document was forged and even if at the time of production
Attomey Kroll did know it was forged, if he later came to know of its falsity, then a reasonable
remedial measure under Rule 3.3 ofthe Rules ofProfessional Conduct would be to promptly make
a disclosure of the falsity to this Court. That issue did not prevent nor delay SPV from getting
summary judgment in its favor. Despite that fact, if that claim is true, it would still warrant a
sanction. The Court is not going to have a mini-trial on that issue as it is not clear to the Court from
the record thatthe retainer produced was forged. Attomey Kroll moved.Doe.511,to strike portions
ofthe Declaration of Douglas Foss, Doe. 498. That motion is also denied.


       In addition, the Court finds that none ofthe attomeys in question violated the provisions of
28 U.S.C! § 1927 in that they did not multiply the proceedings unreasonably and vexatiously. The
same cannot be said for their clients.



        Attomey Twersky requested a sanetion against the Krasnerman entities and their attomeys
in his Declaration in Opposition to the Krasnerman Entities' Motion for Sanctions Against Aaron
Twersky. There is a related matter which is also of eoneem to the Court. There is a separate
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proceeding filed on March 24,2017, by SPV with the heading being: In the Supreme Court ofthe
State ofNew York, County ofNew York,SPV-LS, LLC, Financial Life Services LLC, SPVIILLC
V. Andrew Citron, Revas Chachanashvili Law Group PLLC, Gerald Kroll, KrollLaw Corporation,
Eli Fixler, David Graubard and Kera & Graubard LLP,Index Number 152783/2017. The New
York State lawsuit arises primarily out of the same dispute over the 10 million dollars of life
insurance proceeds and the expense ofpursuing that claim. There are six causes ofaction with there
being claims against Gerald Kroll and others in the First, Second,Third, and Fifth Claims, with the
Fourth claim being against Kroll Law Firm and others. The relief claimed is.
       A. Actual damages in an amount to be determined at trial, but no less than
               $3,703,304.27 plus interest;

       B.      $2,128,441.52,/the amount of premiums paid by FLS and/or SPV on the
               Transamerica Policy; and

        C.     treble damages plus costs and attorney's fees, as provided for in New York
               Judiciary Law 487; and

        D.     legal fees and related expenses SPV,FLS and SPV II incurred and
               continue to incur in this action; and

        E.     punitive damages, plus the costs of this action; and
        F.     for such other relief as the Court may deem just and proper.

        The lawsuit was brought by Gregory T. Casmento ofthe law firm ofLocke Lord LLP,New
 York,New York. Attorney Casamento did not appear ofrecord in the South Dakota litigation but
 he was involved in some ofthe out of court work regarding this South Dakota litigation. Attorney
 Casamento was counsel of record with Attorney Foss in SPV-LS, LLC v. Twersky, S.D.N.Y. Civil
 Docket #1:16-mc-00262-Pl, re Motion to Compel Aaron Twersky to Comply with Subpoena and
 also in S.D.N.Y. Civil Docket #l:16-mc-00156-Pl-AJP, SPV-LS, LLC v. Nelson Bloom, Andrew
 Citron, Stuart Davis and interested party Malka Silberman. In addition, SPV-LS, LLC is the
 common client in both instances and Attorney Foss certainly had knowledge ofthe initiation ofthe
 New York litigation. The claim for relieffor the sanctions before this Federal Court m South Dakota
 are as follows:
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        an amount equal to the total legal fees and costs SPV has incurred in discovery post
        June 1, 2016, the deadline the Court initial set for fact discovery in its Rule 16
        Scheduling Order (Dkt. 175), plus the income lost from delay in receipt of the
        insurance policy proceeds as a result oftheir wrongful conduct.

        The income lost from delay is the 35% per annum that SPV claims to make off ofthese life
insurance settlement investments(Doc. 487).


        This Court was not advised by Attorney Foss ofthe lawsuit filed by SPV on March 24,2017.
Mr. Foss filed the present motion for sanctions against Twersky, Kroll and Donahoe on April 27,
2017, and has followed that filing on the sanction subject with numerous other filings. The Court
first learned ofthe New York state proceedings against Attorney Kroll and others in a response from
Attomey Kroll on June 24,2017,in his Opposition to Motion for Sanctions. The Court is concerned
with not being advised at the time of filing this sanction motion of the previously filed SPV New
York state lawsuit which significantly duplicates the claims with regard to Attomey Kroll in the
 matter that is before this Court. An explanation that other parties and acts are alleged in addition
to those of Attomey Kroll and Kroll Law Corporation would be correct, but that does not diminish
the duty of disclosure. There is, however,no basis for a sanction of either SPV or its attomeys and
that motion is denied.



        The Court recognizes that SPV has had to persist in order to recover what it had contracted
 and paid for, the $10,000,000.00 in proceeds from the life insurance policy on the life of Nancy
 Bergman. The transaction when entered into was legal under applicable New York law. Once policy
 proceeds were available, SPV was met with claims from Nachman Bergman as Trastee of The N.
 Bergman Insurance Trast and Malka Silberman as the Successor Tmstee,that they did not sell the
 life insurance policy at all but that the claimed sale was a forgery. That claim that was at the core
 ofthe defense has been shown to be a lie. The other basis for the claim was a respectable ifincorrect
 claim that New Jersey law was applieable. The Estate of Nancy Bergman was in a better position
 in that if SPV and the related entities failed to prove up their claim, the Estate could step in. That
 claim also failed.




                                                  10
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          It is for state legislatiires to determine whether or not life insurance policies can be purchased
in this manner, often referred to as STOLI, New York subsequently prohibited this practice. Look
at what the practice has given rise to here: an elderly retired school teacher was convinced by her
grandson Nathan that if she went along with the various insurance applications, which amounted to
five policies issued for $35 million in death benefits, and medical exams,she would get something
out of it. Nancy's grandson Nathan got $130,000 from this undertaking and it appears that Nancy
got nothing. Nancy's estate was represented to be about$175,000,consisting mainly ofher dwelling
when she died at age 89.


          The lack of candor of the Defendants themselves necessitated extensive discovery. It is
speculation to say whether or not the Court would have granted summaryjudgment at some earlier
date if discovery had been more forthcoming.


          Now thatthe sanctions motions have been ruled upon,the Court will next enter an appealable
Judgment. The Court will direct the payment ofthe $10,000,000 and accrued interest' to SPV-LS,
LLC., pursuant to SPV's Motion to Release Insurance Proceeds, Doc. 484, unless the Defendants
post a cash bond in the amount of$49,833.29.^ The Estate ofNancy Bergman has already attempted


   'The amount is reduced by $72,600 paid by Court Order to counsel for Transamerica Insurance
Company.

    ^The Court has calculated the amount of the bond as follows: according to the Affidavit from
SPV's certified public accountant, SPY maintains a Vanguard Mutual Fund account which as of
April 7, 2017 contained $24,857 million (Doc. 487). Those funds are invested in the Vanguard
Federal Money Market Fund(VMFXX)(Doc. 517). As of Jime 30,2017 that fund had paid .46 of
1% over the preceding year. The $25 million is not all needed to service the capital requirements
of servicing other life insurance policies held in the amount of $135,000,000 benefit value with a
 cost basis of $35 million. The other reason stated for holding the $25 million in Vanguard was to
purchase other policies. The $10 million in question here is not needed to purchase other policies
as there are already funds available for such purchases. Accordingly, an appeal, if taken, will
probably take about 13 months. The 2017 Annual Statistical Report for the Eighth Circuit Court of
Appeals had an average civil case disposition time of 12.9 months. Ten million dollars x .46 of1%
= $46,000. Accordingly, a bond of$49,833.29 must be promptly posted or the funds will be paid
to SPY. FRCP 62(a) provides for no execution on a Judgment until 14 days have passed after its
 entry.

                                                      11
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to appeal.^


   ^If the Court waited for the Defendant Estate's proposed appeal the FRCP 62(d) analysis is:
Rule 62 permits a court to stay a final judgment pending appeal. Fed. R. ClV. P. 62(c); Dakota,
Minnesota & E. R.R Corp. v. Schieffer, 742 F. Supp. 2d 1055, 1060 (D.S.D. 2010)(finding that
"Rule 62 permits courts to order a stay, pending appeal, of an interlocutory or finaljudgment in an
action for an injunction."). The rule'"codifies the inherent power ofcourts to make whatever order
is deemed necessary to preserve the status quo and to ensure the effectiveness of the eventual
indgmenV' Knutsonv. AGProcessing,Inc.,302¥.Supp.2d 1023,1035(N.D.Iowa2004)(quoting
11 Charles Alan Wright et al. Federal Practice and Procedure § 2904 (2d ed. 2012)); see also
Pettway v. Am. CastIron Pipe Co.,411 F.2d 998, 1003(5th Cir. 1969)(finding that Rule 62(c)"is
expressive ofthe power in the courts to preserve the status quo pending appeal.");North Cent. Truck
Lines, Inc. v. United States, 384 F.Supp. 1188, 1190(W.D. Mo. 1974)("Rule 62(c) specifically
 provides that the determination to grant or deny relief, as requested in the case at bar, is a matter
 directed to the discretion ofthe Court.").                                ,

        A four-part test governs stays pending appeal:
        (1)whether the stay applicant has made a strong showing that he is likely to succeed
        on the merits;(2) whether the applicant will be irreparably injured absent a stay;
        (3)whether issuance ofthe stay will substantially injure the other parties interested
        in the proceeding; and (4) where the public interest lies.

 Hilton V Braunskill,481 U.S. 770,776(1987). "The applicant bears the burden ofestablishing the
 propriety ofa stay." SAGEv. OsseoAreaSchools,2006WLmi54,^tn (D.Minn.2006)(citing
 Reserve Mining Co. v. United States, 498 F.2d 1072, 1076(8th Cir. 1974)). If a stay is granted, a
 court may do so "on terms for bond or other terms that secure the opposing party's rights." Fed.R.
 Civ. p. 62(c).

         In considering requests for a stay pending an appeal, courts "maintain[] a flexible approach
 when applying the [] factors and balancing the equities between the parties." Walker v. Lockhart,
 678 F.2d 68,70(8th Cir. 1982);see also Hilton,481 U.S. at 777("Since the traditional stay factors
 contemplate individualized judgments in each case,the formula cannot be reduced to a set ofrigid
 rules."); Brady v. Nat'l Football League,640 F.3d 785, 789 (8th Cir. 2011)(internal quotations
 omitted)(fmding that "[ujltimately,[courts] must consider the relative strength ofthe four factors,
 balancing them all."). "No single factor in itselfis dispositive; in each ease all the factors must be
 considered to determine whether on balance they weigh towards granting the [stay]. Calvin Klein
 Cosmetics Corp. v. Lenox Labs., Inc., 815 F.2d 500,503(8th Cir. 1987).
         1.       Likelihood ofsuccess on the rrierits

        The first factor that courts consider when ruling on a motion for a stay pending appeal is the
 likelihood ofthe movanfs success on the merits. Hilton, 481 U.S. at 776. While the first factor is
                                                   12
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a difficult one for the Estate to meet,Eighth Circuitlaw establishes that trial courts have issued stays
pending appeal "where such action was necessary to preserve the status quo or where the legal
questions were substantial and matters offirst impression." Sweeney v. Bond,519 F. Supp. 124,132
(E.D. Mo. 1981), affd,669 F.2d 542(8th Cir. 1982);        also Mesabi Iron Co. v. Reserve Mining
Co.,268 F.2d 782, 783(8th Cir. 1959).

        Under this standard, the Court/finds that the first condition of Rule 62(c) is satisfied.
Litigation in this case has been ongoing since June of 2014 arid centers on "stranger oriented life
insurance"("STOLI"). Since that time, nine parties have had their interests represented, fifteen
attorneys have appeared, arid over 100 motions consisting of thousands of pages and 500 docket
entries have been filed. This litigation clearly presents a detailed factual history but the legal issues
are not complex. The Estate is not likely to succeed on the merits and this suggests no stay.

        2.      Threat ofirreparable harm to the Estate

        The next factor that a court must consider is whether the applicant will suffer irreparable
injury absent a stay. Hilton, A%\U.S.at 776. "In order to demonstrate irreparable harm,a party must
show that the harm is certain and great and ofsuch imminence that there is a clear and present need
for equitable relief." Iowa Utils. Bd. v. F.C.C., 109 F.3d 418,425 (8th Cir. 1996)(citing Packard
Elevator v. IC.C,782 F.2d 112,115 (8th Cir. 1986)). "[Ejconomic loss standing alone does not
constitute irreparableharm,but the threat ofunrecoverable economic loss does amountto irreparable
harm." Knutson, 302 F. Supp. 2d at 1037(citing Iowa Utils. RJ., 109 F.3d at 426).

        Here,the Estate argues that absent a stay, it will suffer irreparable harm. Doc.476 at 11. In
support of its position, the Estate cites the various entities in which Michael Krasnerman is
connected—specifically noting the transfers ofthe policy via those entities—and expresses its fear
that the proceeds will "evaporate" if released to SPV. Id. at 11-14; see also Doc. 22(Affidavit of
Michael Krasnerman, August 8,2014). In response, SPV argues that it is a well-capitalized entity
with about $25 million in cash and other life insurance policies as assets, which should leave neither
the Estate,nor this Court,with reason to believe that it would suddenly become liquidated and leave
the Estate no recourse to recover the proceeds if it prevailed on appeal. Doc.486 at 12. In support
of this position, SPV attaches an Affidavit of Alari Goldberger, CEO of SPV. See Doc. 487 and
accompanying attachments.

       The Court, however,finds that this factor does weigh in favor of a stay. SPV,as a private'
company controlled by Michael Krasnerman,is not subject to the extensive security regulations and
required financial disclosures of a publicly traded entity.. See UnitedHealth Group Inc. v.
Wilmington Trust Co., 538 F. Supp.2d 1108, 1110 (D. Minn. 2008) (finding that "[bjecause
[corporation] shares are publicly traded, it must comply with the public disclosure and filing
requirements ofthe Securities and Exchange Commission('SEC'),"). This fact, along with the fact
that Michael Krasnerman has an interest in numerous entities and the policy in question has been
filtered through those entities, as could cash, clearly demoristrates "the threat of unrecoverable
                                                . 13
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economic loss" to the Estate. The entities include Financial Life Services, LLC (sole owner), Life
Trading Holdeo,LLC(principal; partially owned hy AllFinancial Group,LLC),Life Trading Trust
(established by Life Trading Holco, LLC), Babcock & Brown Life Trading, LLC, AllFinancial
Group,LLC(sole owner), AllSettled Partners, LLC (sole owner), SPV-LS,LLC(founder and was
once its sole member), SPVII,LLC (founder and sole member), T-LEGG,LLC(founder and sole
member), and MK South Dakota, LLC. See Doc. 22 at 3-5, 14(Michael Krasnerman's Affidavit,
August 8, 2014). Knutson, 302 F., Supp. 2d at 1037(citing Iowa Utils. Bd, 109 F.3d at 426); Doc.
22 at 3-5, 14 (Michael Krasnerman's Affidavit, August 8, 2014); Doc. 1 at Tff 9, 10, 14, and 21
(Complaint). This factor strongly favors a stay.

        3.     Harm to SPV ifa Stay is Issued

        The third factor this Court must consider is whether the issuance ofa stay will substantially
injure SPV. Hilton, 481 U.S. at 776. As noted, the Court finds that the Estate will likely he
irreparably harmed ifthe policy proceeds are released to SPV. That factor is diminished in weight
by the finding that the Estate is not likely to prevail on the merits. Although there may be some
financial harm and inconvenience to SPV as a result of not being allowed immediate access to the
funds,the Court fmds that such harm can he alleviated by the Estate posting a bond in accordance
with Rule 62. Accordingly, the balance of the harm eonceming factor three weighs in favor of
granting a stay.

        4.      The public interest

        As a final condition, a Rule 62 movant must make an appropriate showing that a stay would
do no harm to the public interest. Hilton,4S\U.S. atn6;Kan. City Royals Baseball Corp. v. Major
League Baseball Players Ass'n, 409 F. Supp. 233, 269(W.D. Mo.), affd, 532 F.2d 615 (8th Cir.
1976). In support of its position, the Estate argues that the "public interest is [] furthered hy the
certification for appeal and stay, because the issue ofthe insurable interest under appropriate state
law may he determined more quickly and may have a bearing on other cases or claims. Doc. 476
at 15. In response, SPV argues that the Estate has offered nothing in support ofthis final condhion
for a stay and contends that an Eighth Circuit decision on a since-amended New York law "is of
incredibly narrow import" to the public interest. Doc.486 at 13-15. The Court observes that there
 is a broader public interest in the existence of STOLls.

        Here, while the Court finds that the Estate's argument is not strong on this point, a Rule 62
analysis requires the Court to consider "[ejach factor...in relation to the others,and the interaction
of all four must be weighed." Armstrongv. O'Conne//,416 F.Supp. 1325,1330(E.D. Wise. 1976)
(further finding that "[fjailure to meet one factor may be excused in light of a particularly strong
showing with respect to another factor."); see also Walker,678 F.2d at 70;Hilton,481 U.S. at 777,
Brady, 640 F.3d at 789; Calvin Klein Cosmetics Corp., 815 F.2d at 503. Accordingly, the Court
 fmds that the factors weigh in favor of a stay.


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      IT IS ORDERED:


      1.    That the Motion for Sanctions against Attorneys Aaron Twersky, Gerald
            Kroll, and Brian Donahoe, Doc.496, is denied.

      2.    That the Motion to Strike Portions ofDeclaration ofDouglas Foss(Doc.489)
            and Evidentiary Objections to Foss Declaration, Doc. 511, is denied.

      3.    That the Motion for Sanctions against Attorney Douglas Foss and SPV-LS,
            LLC,Doc. 519, is denied.

      4.    That Plaintiff shall prepare a draft Judgment.

      5.    That SPV-LS, LLC's Motion to Release Insurance Proceeds, Doc. 484, is
             granted unless the Estate pursuant to its Motion for Order Staying Res
             Distribution, Doc. 475, posts a cash bond within 14 days after entry of
             Judgment in the amount of $49,833.29.

      Dated this 23rd day of August,2017.

                                            BY THE COURT:




                                             iwrence L. Piersol
ATTEST:                                     United States District Judge
JOSEPI



             Deputy




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